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                                                                                1 WEILAND GOLDEN GOODRICH LLP
                                                                                  David M. Goodrich, State Bar No. 208675
                                                                                2 dgoodrich@wgllp.com
                                                                                  Ryan W. Beall, State Bar No. 313774
                                                                                3 rbeall@wgllp.com
                                                                                  650 Town Center Drive, Suite 600
                                                                                4 Costa Mesa, California 92626
                                                                                  Telephone     714-966-1000
                                                                                5 Facsimile     714-966-1002

                                                                                6 Counsel for Debtor
                                                                                  Western Community Energy
                                                                                7

                                                                                8                       UNITED STATES BANKRUPTCY COURT
                                                                                9                         CENTRAL DISTRICT OF CALIFORNIA
                                                                               10                                 RIVERSIDE DIVISION
                                                                               11                                           Case No. 6:21-bk-12821-SY
Weiland Golden Goodrich LLP




                                                                               12 In re                                     Chapter 9
                         T e l 7 14- 9 66- 1 0 00 F a x 7 1 4- 9 6 6- 1 0 02
                            65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                               13 WESTERN COMMUNITY ENERGY,                 DECLARATION OF ED RODIECK RE
                               Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                                                            SERVICE AND PROOF OF SERVICE OF
                                                                               14                           Debtor.         (1) MOTION FOR ORDER APPROVING
                                                                                                                            SETTLEMENT BETWEEN DEBTOR AND
                                                                               15                                           SOUTHERN CALIFORNIA EDISON
                                                                                                                            PURSUANT TO FEDERAL RULE OF
                                                                               16                                           BANKRUPTCY PROCEDURE 9019; AND
                                                                                                                            DECLARATIONS OF ANDREW RUIZ AND
                                                                               17                                           DAVID M. GOODRICH IN SUPPORT
                                                                                                                            THEREOF; (2) NOTICE OF HEARING ON
                                                                               18                                           MOTION FOR ORDER APPROVING
                                                                                                                            SETTLEMENT BETWEEN DEBTOR AND
                                                                               19                                           SOUTHERN CALIFORNIA EDISON
                                                                                                                            PURSUANTTO FEDERAL RULE OF
                                                                               20                                           BANKRUPTCY PROCEDURE 9019
                                                                               21                                           Hearing Date, Time and Location:
                                                                                                                            Date: February 10, 2022
                                                                               22                                           Time: 1:30 p.m.
                                                                               23                                           Place: 3420 Twelfth Street
                                                                                                                                    Courtroom 302
                                                                               24                                                   Riverside, CA 92501

                                                                               25

                                                                               26

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                                                                               28
                                                                                    1105608.2                                                             DECLARATION
                                                                               Case 6:21-bk-12821-SY        Doc 246 Filed 01/21/22 Entered 01/21/22 11:22:27             Desc
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                                                                                1                                DECLARATION OF ED RODIECK

                                                                                2

                                                                                3           I, Ed Rodieck, declare as follows:

                                                                                4           1.     I am employed at Integrity Legal Corp. I am over the age of 18 years old

                                                                                5 and not a party to this action. My business address is Integrity Legal Corp.,17900 Sky

                                                                                6 Park Circle, Ste. 106, Irvine, CA 92614. The following matters are true and correct and

                                                                                7 within my own personal knowledge and belief, and if called as a witness, I could and

                                                                                8 would competently testify thereto.

                                                                                9 2.        On January 20, 2022, prior to 8:00 p.m. (PST), Integrity Legal Corp. served (1)

                                                                               10 Motion For Order Approving Settlement Between Debtor And Southern California Edison

                                                                               11
                                                                                    Pursuant To Federal Rule Of Bankruptcy Procedure 9019; And Declarations Of Andrew
Weiland Golden Goodrich LLP




                                                                               12
                                                                                    Ruiz And David M. Goodrich In Support Thereof; (2) Notice Of Hearing On Motion For
                         T e l 7 14- 9 66- 1 0 00 F a x 7 1 4- 9 6 6- 1 0 02
                            65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0




                                                                               13
                               Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                    Order Approving Settlement Between Debtor And Southern California Edison Pursuantto
                                                                               14
                                                                                    Federal Rule Of Bankruptcy Procedure 9019 via U.S. mail on the entities listed in Exhibit
                                                                               15

                                                                               16 “A”.

                                                                               17           I declare under penalty of perjury that the foregoing is true and correct.
                                                                               18           Executed on this 21th day of January, 2022, at Irvine, California.
                                                                               19

                                                                               20

                                                                               21
                                                                                            ______________________________
                                                                               22           Ed Rodieck

                                                                               23

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                                                                                    1105608.2                                      2                                 DECLARATION
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    SERVED BY UNITED STATES MAIL

    Honorable Scott H. Yun                             Calpine Energy Solutions
    United States Bankruptcy Court                     Attn: Josh Brock
    Central District of California                     401 W A Street, #500
    3420 Twelfth Street, Suite 345 / Courtroom 302     San Diego, CA 92101-7991
    Riverside, CA 92501-3819
                                                       Morgan Stanley Capital Group
    Western Community Energy                           Attn: Commodities Department
    3390 University Avenue, Suite 200                  1585 Broadway, 3rd Floor
    Riverside, CA 92501-3314                           New York, NY 10036-8293

                                                       OhmConnect, Inc.
    ACES                                               Attn: Matt Duesterberg
    4140 West 99th Street                              610 16th Street, Suite M20
    Carmel, IN 46032-7731                              Oakland, CA 94612-1282

    Best Best & krieger LLP                            PIP Printing
    3390 University Avenue, 5th Floor                  4093 Market Street
    Riverside, CA 92501-3369                           Riverside, CA 92501-3542

    EES Consulting                                     River City Bank
    Attn: Gary Saleba                                  2485 Natomas Park Drvie
    1601 Carmen Drive, Suite 215H                      Riverside, CA 95833-2975
    Camarillo, CA 93010-3105
                                                       The Creative Bar
    Exelon Generation Company, LLC                     Attn: Justine Lawler
    1310 Point Street                                  38750 Sky Canyon Drive, Suite C
    8th Floor                                          Murrieta, CA 92563-2564
    Baltimore, MD 21231-3380
                                                       Riverside Division
    Nextera Energy Marketing, LLC                      3420 Twelfth Street,
    Attn: Mark Palanchian                              Riverside, CA 92501-3819
    700 Universe Blvd.
    North Palm Beach, FL 33408-2657                    Barclays Bank PLC
                                                       Attn: Cassandra Bolz
    PFM Financial Advisors, LLC                        1301 6th Avenue
    601 S. Figueroa Street                             New York, NY 10019-6022
    Suite 4500
    Los Angeles, CA 90017-5703                         Constellation
                                                       1310 Point Street, 8th Floor
    Pilot Power Group                                  Baltimore, MD 21231-3380
    AttN: Denis Vermette
    8910 University Center Lane                        Endersponse, Inc.
    San Diego, CA 92122-1026                           Attn: Emily McPhail
                                                       2901 West Coast Highway, Suite 200
    Southern California Edison                         Newport Beach, CA 92663-4045
    Energy Contract Management
    2244 Walnut Grove Ave.                             NRG Power Marketing LLC
    Rosemead, CA 91770-3714                            Attn: Joseph A. Holtman
                                                       804 Cernegie Center
    BP Energy Company                                  Princeton, NJ 08540-6023
    Attn: Rob H. Gorski
    201 Helios Way                                     OneEnergy, Inc.
    Houston, TX 77079-2678                             Attn: Bill Eddie
                                                       2003 Western Avenue, Suite 225




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     Seattle, WA 98121-2178                           Jacksonville, FL 32202-5103

     Pacific Gas and Electric Company                 TransAlta
     Attn: Ted Yuba                                   110-12 Avenue SW
     245 Market Street                                Calgary, Alberta T2P 2MI
     San Francisco, CA 94105-1702                     Canada

     Pioneer Community Energy                         WRCOG
     804 Carnegie Ctr.                                3390 University Ave., Suite 200
     Princeton, NJ 08540-6023                         Riverside, CA 92501-3315

     Shell Energy North America (USA)                 United States Trustee (RS)
     Contract North America                           3801 University Avenue, Suite 720
     1000 Main Street, Level 12                       Riverside, CA 92501-3255
     Houston, TX 77002-6336
                                                      PowerEx Corp., Attn: Mgr. Contracts
     The Energry Authority, Inc.                      666 Burrard Street, Suite 1300
     Attn: Daren Anderson                             Vancouver, BC V6c 2X8
     301 W. Bay Street, Suite 2600                    Canada




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Declaration Of Ed Rodieck Re Service And Proof Of
Service Of (1) Motion For Order Approving Settlement Between Debtor And Southern California Edison Pursuant To
Federal Rule Of Bankruptcy Procedure 9019; And Declarations Of Andrew Ruiz And David M. Goodrich In Support
Thereof; (2) Notice Of Hearing On Motion For Order Approving Settlement Between Debtor And Southern California
Edison Pursuantto Federal Rule Of Bankruptcy Procedure 9019 will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 21, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 21, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Honorable Scott H. Yun
United States Bankruptcy Court
Central District of California
3420 Twelfth Street, Suite 345 / Courtroom 302
Riverside, CA 92501-3819
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) January 21, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/21/2022                      Gloria Estrada
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Abram Feuerstein abram.s.feuerstein@usdoj.gov
Beth Gaschen bgaschen@wgllp.com,
kadele@wgllp.com;cbmeeker@gmail.com;cyoshonis@wgllp.com;lbracken@wgllp.com;bgaschen@ecf.courtdrive.com;ge
strada@wgllp.com
Seth Goldman seth.goldman@mto.com
David M Goodrich dgoodrich@wgllp.com,
kadele@wgllp.com;lbracken@wgllp.com;wggllp@ecf.courtdrive.com;gestrada@wgllp.com
Everett L Green everett.l.green@usdoj.gov
Anna Gumport agumport@sidley.com, laefilingnotice@sidley.com;anna-gumport-6608@ecf.pacerpro.com
Chad V Haes chaes@marshackhays.com,
chaes@ecf.courtdrive.com;cmendoza@ecf.courtdrive.com;cmendoza@marshackhays.com;kfrederick@ecf.courtdrive.co
m
Brian D Huben hubenb@ballardspahr.com, carolod@ballardspahr.com;rev_jarushewskyj@ballardspahr.com
Mark T Jessee jesseelaw@aol.com, marktjessee@gmail.com
Lindsey E Kress lkress@lockelord.com, hayli.holmes@lockelord.com
Peter W Lianides plianides@wghlawyers.com, jmartinez@wghlawyers.com;mweinberg@wghlawyers.com
Richard A Marshack rmarshack@marshackhays.com,
lbuchananmh@ecf.courtdrive.com;rmarshack@ecf.courtdrive.com
Ali Matin ali.matin@usdoj.gov, carolyn.k.howland@usdoj.gov
David L. Neale dln@lnbyg.com
Valerie Bantner Peo vbantnerpeo@buchalter.com
Cameron C Ridley Cameron.Ridley@usdoj.gov
Bradley R Schneider bradley.schneider@mto.com
Jason D Strabo jstrabo@mwe.com, cgreer@mwe.com
United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
Joseph M VanLeuven joevanleuven@dwt.com, katherinehardee@dwt.com;pdxdocket@dwt.com
Marc J Winthrop mwinthrop@wghlawyers.com, jmartinez@wghlawyers.com
Robert J Wood robert.wood@rivercitybank.com
Nahal Zarnighian zarnighiann@ballardspahr.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
